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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:06CR284
                              )
          v.                  )
                              )
ROBERT J. LANDWEHR, SUSAN R. )                         ORDER
LANDWEHR, JACK W. DUKE, JR., )
and JOY L. DUKE,              )
                              )
               Defendants.    )
______________________________)


           This matter is before the Court on defendants’ motion

to continue trial (Filing No. 32).          The Court notes defendants

will file a written waiver of speedy trial and that counsel for

plaintiff has no objection.         Accordingly,

           IT IS ORDERED that defendants’ motion to continue trial

is granted; trial is rescheduled for:

                 Monday, March 26, 2007, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.   The voluminous records that need to be reviewed in

preparation for trial or plea negotiations require continuation

of the trial.    Therefore, the ends of justice will be served by

continuing this case and outweigh the interests of the public and

the defendant in a speedy trial.         The additional time between

January 8, 2007, and March 26, 2007, shall be deemed excludable
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time in any computation of time under the requirement of the

Speedy Trial Act.    18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 28th day of December, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
